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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : CRIMINAL NO. 22-cr-15 (APM)
v.
(1) ELMER STEWART RHODES III,
(2) KELLY MEGGS,
(3) KENNETH HARRELSON,
(4) JESSICA WATKINS, and
(5) THOMAS CALDWELL,
Defendants.

VERDICT FORM

Count One: Seditious Conspiracy

A. Verdict as to each defendant:

(i) me Rhodes UI

Guilty Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
ee find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

To use force to prevent, hinder, or delay the execution of any law of
the United States
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(2) Kelly oe
Guilty Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

V__ To oppose by force the authority of the Government of the United
States

To use force to prevent, hinder, or delay the execution of any law of
the United States

(3) Kenneth Harrelson

Guilty Not Guilty

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

To use force to prevent, hinder, or delay the execution of any law of
the United States 5

(4) Jessica Watkins
Guilty Not Guilty /

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

To use force to prevent, hinder, or delay the execution of any law of
the United States
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(5) Thomas Caldwell

Guilty Not Guilty /

i. If guilty of the conspiracy charged in Count One, which object(s) do
you unanimously find the defendant conspired to achieve:

To oppose by force the authority of the Government of the United
States

To use force to prevent, hinder, or delay the execution of any law of
the United States

Count Two: Conspiracy to Obstruct an Official Proceeding
A. Verdict as to each defendant:
(1) Elmer Stewart Rhodes Il
Guilty ss Not Guilty Vo
(2) Kelly Meggs
Guilty V we Guilty
(3) Kenneth Harrelson
Guilty _——— Not Guilty we
(4) Jessica Watkins
Guilty Ww tis Guilty
(5) Thomas Caldwell
Guilty _—_—s Not Guilty 4

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Count Three: Obstruction of an Official Proceeding
(1) Elmer Stewart Rhodes III
Guilty Not Guilty

(2) one
Guilty Not Guilty

(3) Kenneth Harrelson
Guilty Not Guilty

(4) Jessica Watkins

Guilty Y Not Guilty
(5) 71 meee
Guilty _1 Not Guilty

Count Four: Conspiracy to Prevent Members of Congress from Discharging Their Duties

A. Verdict as to each defendant:
(1) Elmer Stewart Rhodes II
Guilty Not Guilty “

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you unanimously find the defendant conspired to achieve:

To prevent a Member of Congress from discharging a duty as a
Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed
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(2) Kelly Meggs

Guilty W Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
es find the defendant conspired to achieve:

To prevent a Member of Congress from discharging a duty as a
Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed

(3) Kenneth Harrelson

Guilty Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you whanimously find the defendant conspired to achieve:

To prevent a Member of Congress from discharging a duty as a
Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed

(4) Jessica Watkins

Guilty Not Guilty

i. If guilty of the conspiracy charged in Count Four, which object(s) do
eens find the defendant conspired to achieve:

To prevent a Member of Congress from discharging a duty as a
Member of Congress

To induce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed
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(5) Thomas Caldwell
Guilty Not Guilty —

i. If guilty of the conspiracy charged in Count Four, which object(s) do
you unanimously find the defendant conspired to achieve:

To prevent a Member of Congress from discharging a duty as a
Member of Congress

To mduce a Member of Congress to leave the place where the
Member of Congress’s duties are required to be performed

Count Five: Destruction of Government Property
(2) Kelly Meggs
Guilty ——_— Not Guilty wy
(3) Kenneth Harrelson
Guilty ___ Not Guilty 4
(4) Jessica Watkins

Guilty Not Guilty

Count Six: Obstructing Officers During a Civil Disorder

(4) Jessica,Watkins

J Not Guilty

Guilty

Count Seven: Tampering with Documents or Proceedings

(1) Elmer Stewart Rhodes LIT

Guilty Not Guilty

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Count Eight: Tampering with Documents or Proceedings
(2) Kelly Meggs

Guilty ~ Not Guilty

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Count Nine: Tampering with Documents or Proceedings
(3) Kenneth Harrelson

Guilty Not Guilty

Count Ten: Tampering with Documents or Proceedings

(5) ey aldwell
Guilty Not Guilty

Date: November ™4 , 2022
